Case 18-60270-tnw        Doc 77     Filed 02/25/19 Entered 02/25/19 08:12:18            Desc Main
                                    Document     Page 1 of 2



                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION
                                    CASE NO. 18-60270

IN RE:          HUNTER BLANE MARTIN                                                CHAPTER 7
                MARIA LELITA JAYME MARTIN
                DEBTORS

                                 CERTIFICATE OF SERVICE
                                        *** *** ***

         Comes now Hon. R. Aaron Hostettler, formerly counsel for creditor, Heidi Weatherly, in

the above entitled bankruptcy case and herewith certifies pursuant to Local Bankruptcy Rule

9022-1(b) that he has this date placed in the regular U.S. Mail a true copy of this Court’s Order

entered February 14, 2019 taking under submission the pending motion to alter, amend, or vacate

and granting the undersigned counsel leave to withdraw. A copy has also been served on Ms.

Weatherly via email.

                                              Respectfully submitted,

                                              HAMM, MILBY & RIDINGS, PLLC
                                              120 NORTH MAIN STREET
                                              LONDON, KY 40741
                                              EMAIL: aaron@hmrkylaw.com
                                              PHONE: 606-864-4126
                                              FAX: 606-878-8144
                                              Counsel for Hon. Heidi Weatherly

                                              BY: /s/ R. Aaron Hostettler
                                                      R. AARON HOSTETTLER

CERTIFICATE OF SERVICE:

         I do hereby certify that the foregoing was served by ECF filing and mailing:

ORIGINAL TO (VIA ELECTRONIC FILING):

UNITED STATES BANKRUPTCY COURT CLERK
P. O. BOX 1111
LEXINGTON, KY 40588-1111

                                            Page 1 of 2
Case 18-60270-tnw   Doc 77   Filed 02/25/19 Entered 02/25/19 08:12:18   Desc Main
                             Document     Page 2 of 2



COPY TO:

HON. JAMES R. WESTENHOEFER
212 S. 3RD STREET
RICHMOND, KY 40475

HON. D. BRUCE ORWIN
P. O. BOX 716
SOMERSET, KY 42502

HON. HEIDI WEATHERLY
P. O. BOX 1350
MT. VERNON, KY 40456

ALL CREDITORS

      THIS THE 25TH DAY OF FEBRUARY, 2019.

                                     /s/ R. Aaron Hostettler
                                     OF COUNSEL FOR HON. HEIDI WEATHERLY




                                   Page 2 of 2
